                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: PAUL E. DEARDORFF, III                        : CHAPTER 13
          Debtor                                     :
                                                     :
         JACK N. ZAHAROPOULOS                        :
         STANDING CHAPTER 13 TRUSTEE                 :
             Movant                                  :
                                                     :
              vs.                                    :
                                                     :
         PAUL E. DEARDORFF, III                      :
            Respondent                               : CASE NO. 1-23-bk-02086


               TRUSTEE’S OBJECTION TO AMENDED CHAPTER 13 PLAN

                AND NOW, this 21st day of December, 2023, comes Jack N. Zaharopoulos,
Standing Chapter 13 Trustee, and objects to the confirmation of the above-referenced debtor(s)’
plan for the following reason(s):

              1. The Trustee avers that debtor(s)’ plan is not feasible based upon the
following:

                    a. Insufficient Monthly Net Income as indicated on Schedules I and J.

               WHEREFORE, Trustee alleges and avers that debtor(s) plan is nonconfirmable
and therefore Trustee prays that this Honorable Court will:

                    a. Deny confirmation of debtor(s) plan.
                    b. Dismiss or convert debtor(s) case.
                    c. Provide such other relief as is equitable and just.

                                                 Respectfully submitted:

                                                 Jack N. Zaharopoulos
                                                 Standing Chapter 13 Trustee
                                                 8125 Adams Drive, Suite A
                                                 Hummelstown, PA 17036
                                                 (717) 566-6097

                                       BY:       /s/Douglas R. Roeder
                                                 Attorney for Trustee




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                                 CERTIFICATE OF SERVICE

               AND NOW, this 21st day of December, 2023, I hereby certify that I have
served the within Objection by electronically notifying parties or by depositing a true and correct
copy of the same in the United States Mail at Hummelstown, Pennsylvania, postage prepaid, first
class mail, addressed to the following:

Paul Murphy-Ahles, Esquire
2132 Market Street
Camp Hill, PA 17011


                                                 /s/Deborah A. DePalma
                                                 Office of Jack N. Zaharopoulos
                                                 Standing Chapter 13 Trustee




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